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Prob 12B                   UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                           (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                        Marcos Enrique GARCIA

Docket Number:                        2:03CR00549-02

Offender Address:                     Stockton, California

Judicial Officer:                     Honorable Edward J. Garcia
                                      Senior United States District Judge
                                      Sacramento, California

Original Sentence Date:               06/10/2005

Original Offense:                     21 USC 841, 846 - Conspiracy to Distribute and to Possess
                                      With Intent to Distribute Cocaine Base, Cocaine, and
                                      Methamphetamine (Count 1)
                                      (CLASS A FELONY)
                                      21 USC 841(a)(1) - Distribution of Cocaine Base (Count 2)
                                      (CLASS A FELONY)
                                      21 USC 841(a)(1) - Distribution of Cocaine Base (Count 3)
                                      (CLASS B FELONY)
                                      21 USC 841(a)(1) - Distribution of Cocaine Base (Count 4)
                                      (CLASS A FELONY)
                                      21 USC 841(a)(1) - Possession With Intent to Distribute
                                      Cocaine Base (Count 5)
                                      (CLASS A FELONY)
                                      21 USC 841(a)(1) - Possession With Intent to Distribute
                                      Methamphetamine (Count 6)
                                      (CLASS B FELONY)

Original Sentence:                    84 months custody Bureau of Prisons (concurrent on each
                                      count); 60 months Supervised Release (concurrent on each
                                      count); $600 Special Assessment




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Special Conditions:           1) Submit to search; 2) Financial disclosure 3) Drug/alcohol
                              treatment; 4) Drug/alcohol testing; 5) Co-payment for
                              treatment/testing; 6) Drug offender registration; 7) DNA
                              collection

Type of Supervision:          Supervised Release

Supervision Commenced:        11/12/2008

Assistant U.S. Attorney:      Richard J. Bender              Telephone: (916) 554-2700

Defense Attorney:             David R. LeBeouf               Telephone: (209) 472-3440
                              (Retained)

Other Court Action:

05/13/2008:                   Order Regarding Motion for Sentence Reduction Pursuant to
                              18 USC 3582(e)(2) granted by the Court. Determined
                              Guideline Range amended to Offense Level 31 with Criminal
                              History Category I, resulting Guideline Range 108 to 135.
                              Previously imposed sentence reduced to 67 months custody
                              Bureau of Prisons (concurrent on each count), and all other
                              provisions remain in full effect.




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                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:


       8.      The defendant shall abstain from the use of alcoholic beverages and shall not
               frequent those places where alcohol is the chief item of sale.


       9.      The defendant shall complete 45 hours of unpaid community service as
               directed by the probation officer. The defendant shall pay fees attendant to
               participation and placement in this program on a sliding scale as determined
               by the program. .


       10.     The defendant shall be monitored for a period of 60 days, with location
               monitoring technology, which may include the use of radio frequency (RF)
               or Global Positioning System (GPS) devices, at the discretion of the
               probation officer. The defendant shall abide by all technology requirements
               and shall pay all or part of the costs of participation in the location
               monitoring program, as determined by the probation officer.


Justification: Mr. Garcia commenced supervision in a relationship, caring for his child, and was
gainfully employed. He maintained his household by renting a guest house on his parents' property.
He communicated with the probation office on a regular basis.


In June 2011, Mr. Garcia reported his relationship with his wife was strained as she was embarrassed
of him and bored with their relationship. He stated he was initially depressed, but he realized his
life was not over as he had his son. He had an important reason for his staying focused and free.
He declined the probation officer’s request for his participation in counseling.




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During a traffic stop on August 20, 2011, Mr. Garcia was found to have been operating a vehicle
following his consumption of alcohol. He was arrested for a violation of California Vehicle Code
Section 23152 (A) - Driving Under the Influence. In response to this law enforcement contact and
alcohol charge, his supervision was increased, he was placed in the federal substance abuse
treatment program to address his alcohol abuse, and he was directed to participate in Alcohol
Anonymous meetings. Additionally, Mr. Garcia had agreed to a modification of his terms of
supervision to include community service and alcohol abstention.


As this matter was pending, on October 14, 2011, Mr. Garcia was again stopped for traffic law
violations, and was found to have been operating his vehicle after the consumption of alcohol. Mr.
Garcia admitted his consumption of alcohol while socializing with his employer and coworkers. He
stated a coworker was to drive him home. However, as they were leaving the bar and grill, two
unknown Hispanic males approached him and made threatening statements. The individuals stated
they recognized Mr. Garcia from the past, and attempted to escalate the encounter. His employer
confirmed this encounter. He also added that instead of driving Mr. Garcia home, they panicked and
directed Mr. Garcia to his vehicle so he could immediately leave the scene.


While pending resolution of the two matters, Mr. Garcia placed himself in the San Joaquin County
Scram Bracelet monitoring program through Alcohol Sensor.             According to the program
representative, Mr. Garcia adhered to the conditions of the program, and remained alcohol free.


On December 13, 2011, Mr. Garcia pled guilty to Driving Under the Influence of Alcohol in
Sacramento County Superior Court under case number ST057768A and case number ST058127A.
He was sentenced to 2 days jail and participation in a 18 -month multi-offender alcohol program.




In further response to these offenses, Mr. Garcia has agreed to the above conditions and signed a
Form 49, Waiver of Hearing to Modify Conditions of Probation/Supervised Release or Extend Term
of Supervision, which is on file. These additional conditions in addition to the county imposed
sanctions including treatment are considered sufficient to address his non-compliance. Additionally,

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these conditions will operate as tools to monitor his adjustment under supervision. Should he
continue in his use of alcohol, a more serious sanction will be appropriate and recommended.


                                      Respectfully submitted,


                                    /s/ George A. Vidales
                                  GEORGE A. VIDALES
                           Senior United States Probation Officer
                                 Telephone: (916) 683-3324



DATED:        April 5, 2012
              Elk Grove, California
              GAV/cj



REVIEWED BY:           /s/ Michael A. Sipe
                      MICHAEL A. SIPE
                      Supervising United States Probation Officer




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THE COURT ORDERS:

(X)   Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:



4/10/2012                                         /s/ Edward J. Garcia
               Date                                   Signature of Judicial Officer


cc:   United States Probation
      Richard J. Bender, Assistant United States Attorney
      David R. LeBeouf, Defense Counsel (Retained)
      5250 Claremont Avenue, Suite 245
      Stockton, California 95207
      Defendant
      Court File




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